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 1   Robin Greenwald
     Weitz & Luxenberg
 2   700 Broadway
     New York, NY 10003
 3
     Telephone: (212) 558-5500
 4   Facsimile: (212) 344-5461
     rgreenwald@weitzlux.com
 5
     Michael Miller
 6   The Miller Firm LLC
     108 Railroad Avenue
 7
     Orange, VA 22960
 8   Telephone: (540) 672-4224
     Facsimile: (540) 672-3055
 9   mmiller@millerfirmllc.com
10   Aimee H. Wagstaff (SBN 278480)
11   ANDRUS WAGSTAFF, PC
     7171 W. Alaska Drive
12   Lakewood, CO 80226
     Telephone: 303-376-6360
13   Fax: 303-376-6361
     aimee.wagstaff@andruswagstaff.com
14

15   Attorneys for Plaintiffs
                                  UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA

17   IN RE: ROUNDUP PRODUCTS
     LIABILITY LITIGATION
18                                                    MDL No. 2741
     Carriere v. Monsanto Co.,3:18-cv-05778
19   I. Hernandez v. Monsanto Co.,3:16-cv-05750       Case No. 3:16-md-02741-VC
20   Johansing v. Monsanto Co.,3:16-cv-05751
     Sanders et al. v. Monsanto Co.,3:16-cv-05752     PLAINTIFFS’ JOINT RESPONSE IN
                                                      OPPOSITION TO THE GENERAL
21   Wooten v. Monsanto Co., 3:16-cv-01735            ISSUES RAISED IN MONSANTO
     Calderon v. Monsanto Co., 3:19-cv-01630          COMPANY’S MOTION TO EXCLUDE
22   Harris v. Monsanto Co., 3:17-cv-03199            TESTIMONY OF SPECIFIC
     R. Hernandez v. Monsanto Co., 3:17-cv-07364      CAUSATION EXPERTS
23   Perkins v. Monsanto Co., 3:16-cv-06025           CHARALAMBOS ANDREADIS,
     Dickey et al. v. Monsanto Co., 3:19-cv-04102     CHAYTON SMITH, EDWIN ALYEA,
24                                                    BARRY BOYD, LAUREN PINTER-
     Domina v. Monsanto Co., 3:16-cv-05887            BROWN, RON SCHIFF, AND BRENT
25   Janzen v. Monsanto Co., 3:19-cv-04103            STAGGS IN WAVE ONE CASES ON
     Pollard v. Monsanto Co., 3:19-cv-04100           DAUBERT GROUNDS
26   Tanner v. Monsanto Co., 3:19-cv-04099
27                                                  -1-
          PLAINTIFFS’ JOINT RESPONSE IN OPPOSITION TO THE GENERAL ISSUES RAISED IN
28       MONSANTO COMPANY’S MOTION TO EXCLUDE TESTIMONY OF SPECIFIC CAUSATION
        EXPERTS CHARALAMBOS ANDREADIS, CHAYTON SMITH, EDWIN ALYEA, BARRY BOYD,
         LAUREN PINTER-BROWN, RON SCHIFF, AND BRENT STAGGS IN WAVE ONE CASES ON
                                 DAUBERT GROUNDS ( ECF 8012)
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 1                                                 INTRDUCTION

 2            Monsanto Company’s Motion to Exclude Testimony of Specific Causation Experts
 3
     Charalambos Andreadis, Clayton Smith, Edwin Alyea, Barry Boyd, Lauren Pinter-Brown, Ron
 4
     Schiff, and Brent Stagg in Wave One Cases on Daubert Grounds (“Monsanto Motion”)1
 5
     addresses the reports and deposition testimony of seven specific causation experts relating to 14
 6
     Wave One Plaintiffs represented by seven different law firms. This opposition addresses only
 7

 8   the general issues that Monsanto raises in its motion, including the legal standard that applies to

 9   the motion. For their oppositions to Monsanto’s Motion to exclude each expert, Plaintiffs have
10   filed separate opposition briefs for each of the seven experts which incorporates by reference
11
     the below arguments.
12
                                               ARGUMENT
13
           The Court Previously Considered and Rejected Monsanto’s Claim That Specific
14         Causation Experts Should Be Excluded If They Rely on General Causation Experts’
15         Opinions, Do Not Consider Every Possible Risk Factor, and/or Do Not Rule Out
           “Idiopathy”
16
              In the instant motion, Monsanto essentially mimics the arguments it raised against the
17
     Bellwether Plaintiffs’ specific causation experts. Monsanto does not dispute that the Plaintiffs’
18
     experts may use the differential etiology method upheld by the Ninth Circuit and this Court as
19
     the basis for their opinions (PTO 85 at p. 2), or argue that the experts misuse the studies.
20
     Instead, Monsanto argues that the experts’ opinions should be excluded because: (1) they “rely
21
     on the same flawed studies the general causation experts rely on . . . ,” (2) “[f]or the most part,
22   these experts made no attempt at all to address idiopathy in their expert reports,” and (3) they
23   “fail to reliably consider and rule out other potential causes of NHL . . .” See, e.g., Monsanto
24   Motion at p. 1. This Court’s prior rulings quickly dispense with each of these arguments.
25
     1
26       This responds to the general issues raised in Document 8012.
27                                                   -2-
            PLAINTIFFS’ JOINT RESPONSE IN OPPOSITION TO THE GENERAL ISSUES RAISED IN
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 1                  a. Reliance on General Causation Experts

 2          This Court, in PTO 85, rejected Monsanto’s claim that it is entitled to prevail on its
 3   motion because the specific causation experts rely on the same studies as the general causation
 4   experts,    calling Monsanto’s argument “off point” because “at trial, [Plaintiffs’ specific
 5   causation experts] basis for ruling in glyphosate will be the general causation opinions.” PTO

 6   85 at pp. 2-3.    For the same reasons the Court denied Monsanto’s motion regarding the

 7   Bellwether Plaintiffs, Monsanto’s instant motion should be denied.           Monsanto’s position

 8   regarding the studies upon which the general causation experts rely is a rehash of a failed

 9   argument already rejected by this Court.
                    b. There is no Legal Requirement to Consider Every Potential Risk Factor
10

11          Plaintiffs’ experts are not required to scour the world and investigate every conceivable

12   alternative potential cause of a Plaintiffs’ NHL in order for their opinions to be admissible

13   under Daubert. The Ninth Circuit in Wendell v. GlaxoSmithKline, LLC, 858 F.3d 1227, 1237
     (2017), made that clear:
14
            We do not require experts to eliminate all other possible causes of a condition for the
15          expert’s testimony to be reliable. It is enough that the proposed cause “be a substantial
16          causative factor.” This is true in patients with multiple risk factors, and analogously, in
            cases where there is a high rate of idiopathy.
17
            Likewise, in Cooper v. Takeda Pharmaceuticals America, Inc., 239 Cal. App. 4th 555,
18
     580 (2014), the California Court of Appeals ruled that a plaintiff need not rule out every
19
     potential risk factor that could conceivably have also contributed to her disease:
20
             Thus, because California has rejected the notion that a plaintiff must definitively
21          “exclude all possibilities other than the defendant’s conduct or product as the cause of
            the plaintiff’s harm, clearly an expert, in reaching a specific causation opinion, need not
22          exclude all other possibilities before he or she can express an opinion that the
            defendant’s conduct or product caused the plaintiff’s harm.
23

24                  c. Plaintiffs’ Experts Need Not Exclude Idiopathy

25          Monsanto’s “idiopathy” argument is similarly a rehash of the argument this Court also

26   rejected in PTO 85. The Court wrote:

27                                                  -3-
          PLAINTIFFS’ JOINT RESPONSE IN OPPOSITION TO THE GENERAL ISSUES RAISED IN
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 1          Recognizing that “[m]edicine partakes of art as well as science,” the Ninth Circuit’s
            recent decisions reflect a view that district courts should typically admit specific
 2          causation opinions that lean strongly toward the “art” side of the spectrum. Messick, 747
            F.3d at 1198; see also Wendell, 858 F.3d at 1237 (“The first several victims of a new
 3
            toxic tort should not be barred from having their day in court simply because the
 4          medical literature, which will eventually show the connection between the victims’
            condition and the toxic substance, has not yet been completed.” (quoting Clausen, 339
 5          F.3d at 1060)).
 6                                        *      *         *
 7
            Under Ninth Circuit caselaw, doctors enjoy wide latitude in how they practice their art
 8          when offering causation opinions. See Wendell, 858 F.3d at 1237 (“Where, as here, two
            doctors who stand at or near the top of their field and have extensive clinical experience
 9          with the rare disease or class of disease at issue, are prepared to give expert opinions
            supporting causation, we conclude that Daubert poses no bar based on their principles
10          and methodology.”). It is sufficient for a qualified expert, in reliance on his clinical
11          experience, review of a plaintiffs’ medical records, and evaluation of the general
            causation evidence, to conclude that an “obvious and known risk factor[]” is the cause of
12          that plaintiff’s disease. See Wendell, 858 F.3d at 1235. Here, the specific causation
            experts did that. Relying on the plaintiffs’ admissible general causation opinions –
13          which assert a robust connection between glyphosate and NHL – the experts concluded
            that glyphosate was a substantial factor in causing the plaintiffs’ NHL.
14

15          Moreover, the experts relied heavily on the plaintiffs’ exposure levels in drawing their
            conclusions. All three experts noted the plaintiffs’ extensive Roundup usage, and further
16          explained – as did the plaintiffs' general causation opinions – that both the McDuffie
            (2001) and Eriksson (2008) studies showed a dose-response relationship between
17          glyphosate and NHL. See generally In re Roundup Products Liability Litigation, 2018
            WL 3368534, at *9-10. Thus, consistent with Ninth Circuit caselaw, the experts
18          provided a basis for their conclusion that these plaintiffs fall into the category of
19          Roundup users who developed NHL. The Court may be skeptical of their conclusions,
            and in particular of the assumption built into their opinions from the general causation
20          phase about the strength of the epidemiological evidence. But their core opinions – that
            the plaintiffs had no other significant risk factors and were exposed to enough
21          glyphosate to conclude that it was a substantial factor in causing their NHL – are
            admissible.
22

23   PTO 85 at pp. 5-6 (footnotes omitted).

24          Thus, because the experts here followed the same methodology as those previously
     addressed by the Plaintiffs’ Bellwether experts, Monsanto’s Motion should be denied.
25

26

27                                                   -4-
          PLAINTIFFS’ JOINT RESPONSE IN OPPOSITION TO THE GENERAL ISSUES RAISED IN
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 1   Dated: December 10, 2019

 2

 3                                       By:     /s/ Robin Greenwald
                                                 Robin Greenwald
 4                                               Weitz & Luxenberg
 5                                               700 Broadway
                                                 New York, NY 10003
 6                                               Telephone: (212) 558-5500
                                                 Facsimile: (212) 344-5461
 7                                               rgreenwald@weitzlux.com
 8                                               /s/ Michael Miller
 9                                               Michael Miller
                                                 The Miller Firm LLC
10                                               108 Railroad Avenue
                                                 Orange, VA 22960
11                                               Telephone: (540) 672-4224
                                                 Facsimile: (540) 672-3055
12
                                                 mmiller@millerfirmllc.com
13
                                                 /s/ Aimee H. Wagstaff
14                                               Aimee H. Wagstaff (SBN 278480)
                                                 Andrus Wagstaff, PC
15                                               7171 W. Alaska Drive
                                                 Lakewood, CO 80226
16
                                                 Telephone: 303-376-6360
17                                               Fax: 303-376-6361
                                                 aimee.wagstaff@andruswagstaff.com
18
                                                 Attorneys for Plaintiffs
19

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 1                                    CERTIFICATE OF SERVICE

 2           I HEREBY CERTIFY that on this 10th day of December 2019, a copy of the foregoing
 3
     was filed with the Clerk of the Court through the CM/ECF system which sent notice of the
 4
     filing to all appearing parties of record.
 5

 6                                                      /s/ Robin Greenwald
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